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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  ANALYTICAL TECHNOLOGIES, LLC,                   §
                                                  §
         Plaintiff,                               §
                                                  §
                                                          CASE NO. 2:23-cv-00401-JRG-RSP
         v.                                       §
                                                                   (Lead Case)
                                                  §
  YUM! BRANDS, INC.                               §
                                                              JURY TRIAL DEMANDED
                                                  §
         Defendants.                              §
                                                  §
                                                  §
  ANALYTICAL TECHNOLOGIES, LLC,                   §
                                                  §
         Plaintiff,                               §
                                                  §
         v.                                       §       CASE NO. 2:23-cv-00402-JRG-RSP
                                                  §              (Member Case)
  INSPIRE BRANDS, INC.                            §
                                                  §           JURY TRIAL DEMANDED
         Defendant                                §
                                                  §
                                                  §
                                                  §


                         STIPULATED DISMISSAL BETWEEN
              ANALYTICAL TECHNOLOGIES, LLC AND INSPIRE BRANDS, INC.

        Plaintiff Analytical Technologies, LLC (hereinafter “AT”) and Defendant Inspire Brands,

 Inc. (hereinafter “Inspire”), pursuant to Fed. R. Civ. P. 41, hereby stipulate to an order dismissing

 WITH PREJUDICE all claims for relief against Inspire in member case 2:23-cv-00402-JRG, with

 each party to bear its own attorneys’ fees, costs of court and expenses.

        A     proposed    ORDER      GRANTING         STIPULATED         DISMISSAL       BETWEEN

 ANALYTICAL TECHNOLOGIES, LLC AND INSPIRE BRANDS, INC. is attached hereto.
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  Dated: January 25, 2024                        Respectfully submitted,

  By: /s/ Donald R. McPhail                      By: /s/ Robert L. Lee
  Donald R. McPhail (admitted)                      Robert L. Lee (GA Bar No. 443978)
  OBLON, MCLELLAND, MAIER                           Shaleen J. Patel (GA Bar No. 295554)
   & NEUSTADT LLP                                   ALSTON & BIRD LLP
  1940 Duke Street                                  1201 West Peachtree Street, Suite 4900
  Alexandria, VA 22314                             Atlanta, GA 30309
  dmcphail@oblon.com                               Telephone: 404-881-7635
  Telephone: 703-413-3000                          Facsimile: 404-881-7777
  Facsimile: 703-413-2220                          bob.lee@alston.com
                                                   shaleen.patel@alston.com
  Counsel for Analytical Technologies, LLC
                                                   Counsel for Defendant Inspire
                                                   Brands, Inc.




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                                CERTIFICATE OF SERVICE

         I hereby certify that on January 25, 2024 I electronically filed the foregoing document
 with the Clerk of the Court using the CM/ECF system which will send notification of such filing
 via electronic mail to all counsel of record.

                                                    /s/ Diana Bowen
